      Case 4:19-cv-00300-RH-MJF Document 360 Filed 04/18/20 Page 1 of 4




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


 KELVIN LEON JONES, et al.,

              Plaintiffs,

 v.                                               Consolidated Case
                                                  No. 4:19-cv-300-RH-CAS

 RON DESANTIS, in his official capacity as
 Governor of Florida, et al.,

              Defendants.

                     NOTICE OF PLAINTIFFS’ EXHIBITS

      Pursuant to the Court’s order of April 2, 2020 concerning trial procedures,

ECF No. 317, Plaintiffs hereby submit as attachments hereto all previously unfiled

exhibits. In addition, Plaintiffs provide as Exhibit A hereto a table of all Plaintiffs’

trial exhibits. That table includes a docket (ECF) number for reference for any

exhibit previously filed with the Court. If there is no docket number listed, the

document is filed as an attachment hereto.

      For the benefit of the Court and Defendants, Plaintiffs note a number of

differences between this list and the list filed with the Court on April 14, 2020, ECF

No. 339-1. First, Plaintiffs have removed 288 exhibits that they hereby withdraw

from the Court’s consideration. Second, Plaintiffs have added a few exhibits to that

list. These include: (1) deposition transcripts previously disclosed pursuant to Rule

                                           1
      Case 4:19-cv-00300-RH-MJF Document 360 Filed 04/18/20 Page 2 of 4




26(a)(3), see ECF No. 282, but not previously assigned an exhibit number (PX911,

PX912, PX913, PX914); (2) documents obtained from Defendant Bennett,

Supervisor of Elections of Manatee County since April 13, 2020, and up to, and

including, today (PX908, PX915); and (3) the previously filed declarations of

Plaintiff Moreland, see ECF No. 211-2, and NAACP member Anthrone Oats, see

ECF No. 211-4 (PX909 and PX910, respectively). Third, Plaintiffs note that

although versions of PX74, PX96, and PX103 were previously filed, Plaintiffs are

re-filing complete versions here. Finally, Plaintiffs have not filed Plaintiffs’ exhibits

that consist of videos. Instead, the parties have jointly provided links to those

exhibits, among others, today. ECF No. 341.


Respectfully submitted,

/s/ Sean Morales-Doyle

 Sean Morales-Doyle*                           Leah C. Aden*
 Eliza Sweren-Becker*                          John S. Cusick*
 Myrna Pérez                                   NAACP Legal Defense and
 Wendy Weiser                                  Educational Fund, Inc.
 Brennan Center for Justice at NYU             40 Rector Street, 5th Floor
 School of Law                                 New York, NY 10006
 120 Broadway, Suite 1750                      Tel: (212) 965-2200
 New York, NY 10271                            laden@naacpldf.org
 Tel: (646) 292-8310                           jcusick@naacpldf.org
 sean.morales-doyle@nyu.edu
 eliza.sweren-becker@nyu.edu                   Jennifer A. Holmes*
 myrna.perez@nyu.edu                           NAACP Legal Defense and
 wendy.weiser@nyu.edu                          Educational Fund, Inc.
                                               700 14th Street, N.W., Suite 600
 Julie A. Ebenstein (Fla. Bar No. 91033)       Washington D.C. 20005
                                           2
    Case 4:19-cv-00300-RH-MJF Document 360 Filed 04/18/20 Page 3 of 4




R. Orion Danjuma*                          Tel: (202) 682-1300
Jonathan S. Topaz*                         jholmes@naacpldf.org
Dale E. Ho**
American Civil Liberties Union             Pietro Signoracci*
Foundation, Inc.                           David Giller*
125 Broad Street, 18th Floor               PAUL, WEISS, RIFKIND,
New York, NY 10004                         WHARTON & GARRISON LLP
Tel: (212) 284-7332                        1285 Avenue of the Americas
jebenstein@aclu.org                        New York, NY 10019
odanjuma@aclu.org                          Tel: (212) 373-3000
jtopaz@aclu.org                            psignoracci@paulweiss.com
dho@aclu.org                               dgiller@paulweiss.com

Daniel Tilley (Fla. Bar No. 102882)
Anton Marino (Fla. Bar No. 1021406)
American Civil Liberties Union of
Florida
4343 West Flagler St., Suite 400
Miami, FL 33134
Tel: (786) 363-2714
dtilley@aclufl.org
amarino@aclufl.org

                        Counsel for Gruver Plaintiffs

/s/ Nancy G. Abudu
Nancy G. Abudu (Fla. Bar No. 111881)
Caren E. Short*
Southern Poverty Law Center
P.O. Box 1287
Decatur, GA 30031-1287
Tel: (404) 521-6700
nancy.abudu@splcenter.org
caren.short@splcenter.org

      Counsel for Plaintiffs Rosemary Osborne McCoy & Sheila Singleton




                                       3
     Case 4:19-cv-00300-RH-MJF Document 360 Filed 04/18/20 Page 4 of 4




/s/ Danielle M. Lang
Danielle M. Lang*                             Chad W. Dunn (Fla. Bar No. 119137)
Mark P. Gaber*                                Brazil & Dunn 1200 Brickell Ave,
Molly E. Danahy*                              Suite 1950
Jonathan M. Diaz*                             Miami, FL 33131
Blair Bowie*                                  Tel: (305) 783-2190
Campaign Legal Center                         chad@brazilanddunn.com
1101 14th Street, Ste. 400
Washington, D.C. 20005
Tel: (202) 736-2200
dlang@campaignlegal.org
mgaber@campaignlegal.org
mdanahy@campaignlegal.org
jdiaz@campaignlegal.org
bbowie@campaignlegal.org

                          Counsel for Raysor Plaintiffs

* admitted pro hac vice
** pro hac vice application forthcoming




                                          4
